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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                   19-mc-47-KLM
 Civil Action No. _________________

 In The Matter of

        Establishment Inspection of:

       Folium Biosciences, LLC
       615 Wooten Road
       Suite 110
       Colorado Springs, CO 80915
 _____________________________________________________________________________

                            INSPECTION WARRANT
 ______________________________________________________________________________

 TO:    David Nelson, Area Director
        Occupational Safety and Health Administration
        United States Department of Labor
        7935 East Prentice Ave., Ste. 209
        Greenwood Village, CO 80111-2714

         Application having been made, and the Court finding upon the declaration filed therewith
 that there is sufficient probable cause to issue an administrative inspection warrant authorizing
 entry for a safety and health inspection and investigation of the workplace described as:

        Folium Biosciences, LLC
        615 Wooten Road
        Suite 110
        Colorado Springs, CO 80915

         IT IS HEREBY ORDERED that pursuant to § 8(a) of the Occupational Safety and Health
 Act of 1970 (29 U.S.C. § 651, et seq.), hereinafter referred to as the Act, YOU AND YOUR
 DULY DESIGNATED REPRESENTATIVES of the Occupational Safety and Health
 Administration, U.S. Department of Labor, totaling not more than two (2) persons ARE
 AUTHORIZED to enter without delay the above described workplace during regular working
 hours, to inspect and investigate, within reasonable limits and in a reasonable manner, those
 areas of the workplace which it is reasonably necessary to inspect in order to adequately evaluate
 the following complaint allegations:

            (a) Employees are exposed to fall hazards due to the removal of a railing during
            material hoisting.
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            (b) Employees are potentially exposed to overhead hazards but do not wear head
            protection when loading and unloading the KRAKEN CO2 machine.

            (c) Employees are exposed to trip hazards due to uncovered holes, approximately 3-
            inches diameter, in walking-working surfaces.

            (d) Employees are exposed to emergency egress hazards, such as, but not limited to,
            blocked emergency exits, a lack of training on emergency egress routes, a lack of
            posting of emergency exit routes, and emergency exit routes that lead through high-
            hazard areas. These conditions could prevent employees from exiting the facility in a
            safe and expeditious manner in the event of a fire or other emergency.

            (e) Employees are potentially exposed to fire hazards due to the lack of a fire
            prevention plan.

            (f) Employees are exposed to fire and explosion hazards due to a lack of training on
            the handling, storage, and use of compressed gas cylinders.

            (g) Employees are exposed to chemical and fire hazards due to inadequate storage,
            handling, use, and clean-up of flammable liquids, such as hexane.

            (h) Employees are exposed to chemical hazards due to skin contact with chemical
            irritants, such as hexane, because of the absence of a written personal protective
            equipment (“PPE”) assessment and a lack of enforcement of PPE use.

            (i) Employees are exposed to respiratory hazards, such as hexane, because of an
            inadequate respiratory protection program, lack of training on the use, storage, and
            maintenance of respirators, and a lack of adequate respiratory protection suited to the
            hazards of the workplace.

            (j) Employees are exposed to confined space hazards when working in the ROTO
            room.

            (k) Employees are exposed to caught-in, crushing, and struck-by hazards due to the
            unexpected release of hazardous energy because of the lack of a lock-out/tag-out
            program.

            (l) Employees are potentially exposed to chemicals, such as hexane, over the
            permissible exposure limits of those chemicals.

            (m) Employees are exposed to chemical hazards due to the lack of an adequate
            written hazard communication program, including employee training on the hazards
            of the chemicals with which they work, controls in place to protect employees, and
            the health effects of the chemicals with which they work.

        The inspection may further include any apparently hazardous conditions that are
 observed in plain view of such area(s) or that are observed in plain view while traveling to such
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 area(s). The representatives of the Occupational Safety and Health Administration are also
 authorized to inspect and copy those records that are required by 29 C.F.R. 1904.2 - 1904.7, and
 such other records which are directly related to the purpose of the inspection. Any owner,
 operator, or agent in charge of the above worksite shall grant the entry
 authorized by this warrant immediately upon presentation of this warrant.

         The purpose of the inspection and investigation herein authorized shall be to determine
 whether the said employer and other contractors at the worksite are subject to OSHA’s
 jurisdiction and is furnishing employment and a place of employment which are free from
 recognized hazards that are causing or are likely to cause death or serious physical harm to their
 employees, and are complying with the occupational safety and health standards promulgated
 under the Act and the rules, regulations, and orders issued pursuant to the Act.

         The inspection and investigation authorized under this warrant will be conducted by two
 Compliance Safety and Health Officers who are authorized to conduct such inspections under the
 Act. The inspection shall be initiated as soon as is practicable after the issuance of this warrant
 and shall be concluded no more than ten (10) inspection days thereafter. The Compliance Safety
 and Health officers will afford an opportunity to representatives of the employers and to
 representatives authorized by its employees, to accompany them during the physical inspection
 of the areas of the workplace specified herein, for the purpose of aiding the inspection, pursuant
 to § 8(e) of the Act (29 U.S.C. 657(e)).

         During the course of the inspection and investigation, the said Compliance Safety and
 Health Officers are authorized to take photographs and video recordings and to employ, as may
 be necessary for the purposes of the inspection, other reasonable investigative techniques, and to
 question privately at the worksite any employer, owner, operator, agent, or employees of
 the establishment or of other contractors present at the worksite. The Compliance Safety and
 Health Officers are authorized to record, via video camera or otherwise, interviews of employees
 at the worksite.

         Such activities will be limited to those necessary to the purpose and scope of the
 inspection authorized herein and will be accomplished so as to preclude unreasonable disruption
 of the operations at the work site. The said Compliance Safety and Health Officers shall, in
 conducting the inspection and investigation herein authorized, comply in all respects with
 regulations of the United States Department of Labor applicable to their conduct.

         Information obtained or observed which the employer identifies as containing or
 revealing trade secrets shall be handled as required by section 15 of the Act (29 U.S.C. §664),
 and by 29 C.F.R. § 1903.9 and 18 U.S.C. § 1905.

       A return shall be made and filed with this Court, showing the inspection has been
 completed, within fifteen (15) days of completion of the inspection.




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      Dated this ____ day of June 2019.



                                              ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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                                            RETURN



        I hereby certify that on __________________________, the within Inspection Warrant

 was duly served on the named employer as follows:




 The on-site physical inspection of the establishment as described in this Inspection Warrant was

 initiated on _______________________ and completed on _________________________.




                                             ______________________________________
                                             Occupational Safety and Health Administration
                                             U.S. Department of Labor


                                             Date: ____________________________




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